Case 1:08-cv-00337 Document 7 Filed 02/12/2008 Page 1 of 1
'pQA_IQOS.I SBM 931/\19$ 10 lQA!EM 101 1831'1'331 91.[1 USl{N\ pQAJSS /{[[IZIUOR UQQq pell SUOllllLlnS 911111 UBI]] .ISMSUB 01 9111}1 QlOLU
p0m01112 s11u12pu010p 12 ‘001/\108 Bu1A112M /(51 '1u12pu010p11211118u112312 u0)11210q /(121u1u0u1§pn[11n1>,10p 12 ‘011111 51111 1111111M p0/\108 1011 81 u01101u
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p01v.0011111u1121d 12 /(q p0)1812 pure u011012 111210 p011110u3010q 101112 ‘011~\ 801121S p011u{1 0111 u1 p0111001 1u12pu010p V '1u1121du100 pu12 suowwns
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'QLu 01 1800 1n01111M 110/§ 0110A112M p0u31s 0111 u.m101 u120 1 110111~1 /{q
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